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                            IN THE UNITED STATES DISTRICT COURT
                             FOR THE WESTERN DISTRICT OF TEXAS
                                      AUSTIN DIVISION

MICHAEL KASCSAK,                                   §
                                                   §
               Plaintiff,                          §
                                                   §
v.                                                 §                  1:23-CV-1373-DII
                                                   §
MICHAEL DAVIS VELASCO                              §
and EXPEDIA, INC.,                                 §
                                                   §
               Defendants.                         §

                                              ORDER

       On April 9, 2024, the Court entered a Scheduling Order for this case based on the parties’

joint proposed scheduling order. (Dkt. 27). The Scheduling Order required that the parties each file

a Notice Concerning Reference to United States Magistrate Judge on or before April 5, 2024. (Id. at

1). Plaintiff Michael Kascsak filed a consent notice on April 7, 2024. (Dkt. 23). Defendant Expedia,

Inc. has not timely filed its Notice Concerning Referral to United States Magistrate Judge. Even

before the Court enters the scheduling order, the parties are bound by the deadlines in their agreed

proposed scheduling order.

       Accordingly, IT IS ORDERED that Defendant Expedia, Inc. file a Notice Concerning

Reference to United States Magistrate Judge on or before May 9, 2024.

       SIGNED on April 25, 2024.



                                              _____________________________________
                                              ROBERT PITMAN
                                              UNITED STATES DISTRICT JUDGE
